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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                        10/15/2020
 Omer Waqas Khwaja,

                               Plaintiff,
                                                           1:19-cv-07070 (JPC) (SDA)
                   -against-
                                                           ORDER
 Jobs to Move America,

                               Defendants.


STEWART D. AARON, UNITED STATES MAGISTRATE JUDGE:

       WHEREAS, on June 15, 2020, Plaintiff, who at the time was proceeding pro se, filed a

Letter attaching a proposed Amended Complaint (ECF No. 56); and

       WHEREAS, during today’s telephone conference Plaintiff, now appearing through

counsel, sought leave to file a revised Amended Complaint with the benefit of counsel.

       NOW, THEREFORE, it is hereby ORDERED as follows:

       1. Plaintiff is granted leave to file a revised Amended Complaint no later than Monday,

          November 16, 2020.

       2. Defendants shall answer, move or otherwise respond to the Amended Complaint no

          later than Wednesday, December 16, 2020.

       3. The parties shall appear, via telephone, for a status conference in this action on

          Thursday, December 17, 2020 at 10:00 a.m. At the scheduled time, the parties shall

          each separately call (888) 278-0296 (or (214) 765-0479) and enter access code

          6489745.
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SO ORDERED.

DATED:        New York, New York
              October 15, 2020

                                         ______________________________
                                         STEWART D. AARON
                                         United States Magistrate Judge




                                     2
